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                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF SOUTH CAROLINA

                                     GREENVILLE DIVISION


American Humanist Association, John            )
Doe and Jane Doe, as parents and next          )            C.A. No. 6:13-cv-02471-BHH
friends of their minor child, Jill Doe,        )
                                               )
         Plaintiffs,                           )      CONSENT MOTION FOR LEAVE TO
                                               )          SUBMIT RESPONSES TO
vs.                                            )       SUPPLEMENTAL MEMORANDA
                                               )
Greenville County School District,             )
                                               )
         Defendant.                            )

         Plaintiff, American Humanist Association and Defendant, Greenville County School

District, hereby jointly move the Court for an order permitting them to file responses to each

other’s initial memoranda filed on August 9 and August 10, respectively. As grounds for this

motion, the parties would show:

      1) The scheduling orders submitted by the parties did not include a provision for filing

         responses to supplemental memoranda.

      2) The parties believe that responses to each other’s memoranda will assist in clarifying the

         issues before the Court and assist the Court in deciding Plaintiff’s motion for injunction.

      3) The parties will file responses to supplemental memoranda on or before September 7,

         2018.
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       WE SO MOVE AND CONSENT:



AMERICAN HUMANIST ASSOCIATION                 HALLIGAN MAHONEY & WILLIAMS

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